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               IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT NEW YORK


CHARON COINS, LLC,

            Plaintiff,
    v.
                                    Civil Action No. 7:21-cv-2777
SONEA GRIFFITHS,

            Defendant.


                MEMORANDUM OF LAW IN SUPPORT OF
            PLAINTIFF’S MOTION TO ATTACH DEFENDANT’S
         BANK ACCOUNTS OR FOR A PRELIMINARY INJUNCTION

                            EXHIBIT C
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